 

Case 01-01139-AMC Doc 33094 Filed 05/14/19 Pageiof1

IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE

In re: ) Chapter 11
)
W.R. GRACE & CO. ) Case No. 01-01139
)
Debtors. )
)
ORDER OF REASSIGNMENT OF JUDGE

AND NOW, this 13th day of May, 2019, it is hereby ORDERED that theabove Chapter
11 case along with CONTINENTAL CASUALTY CO. V. CARR, ADV. PRO. NO. 15-50766
and HUNT V. MARYLAND CASUALTY CO., ADV. PRO. NO. 18-50402 are
TRANSFERRED to the Honorable Ashely Chan of the United States Bankruptcy Court for

the Eastern District of Pennsylvania for all further proceedings and dispositions.!

“be

Christopher S. Sontchi
Chief Judge

 

' When filing papers, please include the initials of the Judge assigned to the case.
